Case 1:24-cv-00313-MJT Document 2-2 Filed 08/02/24 Page 1 of 2 PageID #: 111




                    UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF TEXAS
                         BEAUMONT DIVISION



   Peter Harris and Loni Harris,


                Plaintiffs,                   Case No. ______________


         v.


   Upwintrade.com, a business                 Affidavit of Marshal Hoda
   association; David Shamlian, an
   individual, and; John Does 1 – 20,


                Defendants.



        I, Marshal Hoda, state and swear as follows.

        1.     My name is Marshal J. Hoda. I am of sound mind and capable

  of making this Affidavit. I have personal knowledge of the facts stated herein.

  I represent the plaintiffs in this matter, Peter Harris and Loni Harris.

        2.     I personally drafted Plaintiffs’ Motion for Ex Parte Temporary

  Restraining Order and Expedited Discovery, which sets out facts and offers

  argument as to why the Court should enter a freezing order in this case

  without notice to the defendants. I verify the statements set out there and

  urge the Court to grant the Motion for the same reasons.

  //




                                        -1-
Case 1:24-cv-00313-MJT Document 2-2 Filed 08/02/24 Page 2 of 2 PageID #: 112




                           SIGNATURE PAGE



                                            __________________________
                                            Marshal Hoda


        On this ____ day of ________, ________, before me, the

  undersigned notary public, Marshal Hoda appeared, proved to me

  through satisfactory evidence of identification to be the person who

  signed the preceding document, and swore or affirmed to me that the

  contents of the document are truthful and accurate to the best of his

  knowledge and belief.



                                      Notary Public, State of Texas



         Printed Name:



         My commission expires:




                                    -2-
